             Case 4:18-cv-00143-DCN Document 78 Filed 10/07/19 Page 1 of 3




 1   Shea C. Meehan, ISB #6407                           Mathew M.Purcell, Pro Hac Vice
     Jillian A. Harlington, Pro Hac Vice                            Purcell Law,PLLC
 2
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     Attorneys for Plaintiffs
 7


 8

                                UNITED STATES DISTRICT COURT
9

                                 FOR THE DISTRICT OF IDAHO
10

     KELLI ROWLETTE,an individual,
11
     SALLY ASHBY,an individual, and
     HOWARD FOWLER,an individual,                Cause No. 4:I8-cv-00I43-DCN
12


13                               Plaintiffs,     NOTICE OF UNAVAILABILITY OF
     V.                                          COUNSEL
14

     GERALD E. MORTIMER, M.D., LINDA
15
     G. McKINNON MORTIMER,and the
16   marital community comprised thereof, and
     OBSTETRICS AND GYNECOLOGY
17   ASSOCIATES OF IDAHO FALLS,P.A, an
     Idaho professional corporation.
18


19
                                   Defendants.

     TO:   CLERK OF THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
20
            OF IDAHO
21
     AND TO: RAYMOND D.POWERS,PORTIA L. RAUER,J. MICHAEL WEILER,
22           RICHARD R. FRIESS, BRENT O. ROCHE,AND MATTHEW M.
            PURCELL, Counsel ofRecord
23


24
           COMES NOW Shea C. Meehan, attorney of record for Plaintiffs Kelli Rowlette,
     Sally Ashby, and Howard Fowler, with the following formal Notice of Unavailability of
25

     Counsel.

      NOTICE OF UNAVAILABILITY OF COUNSEL - 1             1333 Columbia Park Trail, Suite 220 B, WALKER
                                                                      Richland, WA 99352   m i t EYE
                                                                         P(509)735-4444 i MEEHAN
                                                                         F(509)735-7140 i; eisingER
             Case 4:18-cv-00143-DCN Document 78 Filed 10/07/19 Page 2 of 3




            Mr. Meehan gives notice that he is not available for any motions, hearings,
     depositions, or other formal proceedings in this action from December 18, 2019 through
     January 3, 2020.
            The undersigned formally requests that no formal action occur in this case on the
     dates listed above.

            DATED this H'^day of October, 2019.

                                      WALKER HEYE MEEHAN & EISINGER,PLLC
9
                                      Attorneysfor Plaintiffs

10
                                      By:
11                                          SHEA C. MEEHAN, WSBA #34087

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      NOTICE OF UNAVAILABILITY OF COUNSEL - 2               1333 Columbia Park Trail, Suite 220   WALKER
                                                                         Richland, WA 99352       i lEYE
                                                                             P (509)735-4444      MEEHAN
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                                                                                                  EISINGER
              Case 4:18-cv-00143-DCN Document 78 Filed 10/07/19 Page 3 of 3




 1                                   CERTIFICATE OF SERVICE

 2
            I HEREBY CERTIFY that on October 7, 2019 I filed the foregoing electronically
 3
     through the CM/ECF system, which caused the following parties or counsel to be served by
 4
     electronic means, as more fully reflected on the Notice of Electronic Filing:
 5
            J Michael Wheiler:             wheiler@thwlaw.com, dansie@thwlaw.com
 6
            Richard R. Friess:            fness@thwlaw.com, stark@thwlaw.com
 7

            Portia L Rauer:                plr@powersfarley.com, ckb@powersfarley.com,
 8

                                           kja@powersfarley.com
9

            Raymond D Powers:             rdp@ powersfarley.com, crb@powersfarley.com
10


11
            Andrew J. LaPorta             ajl@powersfarley.com

12          And I hereby certify that I have mailed by United States Postal Service a copy of the

13   document to the following non-CM/ECF participant: NONE.

14


15
                                           /s/ Shea C. Meehan
                                          Shea C. Meehan, ISB #6407
16
                                          Jillian A. Harlington, Pro Hac Vice
17
                                          Attomeys for Plaintiffs
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